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             EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

LAS AMERICAS IMMIGRANT
ADVOCACY CENTER, et al.,

        Plaintiffs,

v.                                                            Civil Action No. 25-0418

KRISTI NOEM
Secretary of Homeland Security, et al.,

        Defendants.



                                 DECLARATION OF JUAN AGUDELO
         I, Juan Agudelo, declare the following under 28 U.S.C. § 1746, and state that under
  penalty of perjury the following is true and correct to the best of my knowledge and belief:
  1. I am employed by U.S. Department of Homeland Security (DHS), U.S. Immigration and
      Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), as the Deputy
      Field Office Director (DFOD) for Miami, Florida. I have held this position since October 23,
      2022. From January 13, 2025, I began serving as the Acting Field Office Director ((A)FOD).
      As (A)FOD, I am responsible for the oversight of the ERO Miami Area of Responsibility
      (AOR). At the Miami Field Office, I manage ERO personnel and provide oversight of ICE
      operations in detention facilities. My responsibilities include overseeing ERO enforcement
      operations as well as detention facility operations within the Miami AOR.
  2. I provide this declaration based on my personal knowledge, reasonable inquiry, and
      information obtained from various records, systems, databases, other DHS employees, and
      information portals maintained and relied upon by DHS in the regular course of business.
  3. I am aware that this litigation, Las Americas Immigrant Advocacy Ctr. v. Noem, 1:25-cv-
      00418 (D.D.C. filed Feb. 12, 2025), has been filed in the U.S. District Court for the District
      of Columbia.
  4. On January 29, 2025, President Donald J. Trump signed a memorandum directing the



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    Department of Defense and Department of Homeland Security to expand the Migrant
    Operations Center (MOC) at the U.S. Naval Station Guantanamo Bay (NSGB) in
    Guantanamo Bay, Cuba.
5. NSGB will temporarily house aliens before they are removed to their home country or a safe
    third country. The use of NSGB is deemed necessary to complete ongoing removal
    operations due to the number of illegal aliens present in the United States and the current and
    ever-evolving availability of detention space in ICE detention facilities or other contracted
    detention facilities to house aliens for civil immigration purposes. Available detention space
    fluctuates due to, for example, contracting issues, state laws, and injunctions issued by
    federal district courts.
6. On February 4, 2025, ICE began transferring aliens with final orders of removal located in
    the continental United States to NSGB. ICE intends to use NSGB as a temporary staging
    facility for aliens being repatriated and expects the average length of stay at the MOC to be
    as limited to the time necessary to effect the removal orders. On February 4, 2025, the first
    flight of 10 aliens departed Fort Bliss, Texas to Guantanamo Bay. These aliens are natives
    and citizens of Venezuela who have final orders of removal, many of whom are believed to
    be part of the transnational criminal organization “Tren de Aragua,” which the United States
    designated as a specially designated global terrorist organization by Federal Register Notice
    on February 20, 2025. These 10 aliens were placed in a complex called Camp VI, which
    houses aliens who are considered to be high security threat.
7. On February 6, 2025, 13 aliens arrived at NSGB and were transferred to Camp VI. There
    were 15 aliens on February 7, 2025, 14 aliens on February 8, 2025, 10 aliens on February 12,
    2025, 13 aliens on February 13, 2025, 15 aliens on February 14, 2025, and 15 aliens on
    February 15, 2025, 15 aliens on February 16, 2025, and 7 aliens on February 17, 2025, who
    arrived at NSGB and were transferred to Camp VI.
8. On February 9, 2025, 15 aliens arrived at NSGB and were transferred to the MOC. There
    were 15 aliens on February 10, 2025, 15 aliens on February 11, 2025, 5 aliens on February
    12, 2025, and 1 alien on February 13, 2025, who arrived at NSGB and were transferred to the



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    MOC.
9. One alien who arrived at NSGB on February 8, 2025, was returned to El Paso, Texas on
    February 12, 2025, after an immigration judge granted a motion to reopen the alien’s
    immigration proceedings.
10. There are currently 51 aliens housed at the MOC, and 127 aliens housed at Camp VI. These
    178 aliens at NSGB are all natives and citizens of Venezuela and have final orders of
    removal, including several with expedited removal orders.
11. Venezuela has historically resisted accepting repatriation of its citizens but has recently
    begun accepting removals following high-level political discussions and an investment of
    significant resources. As such, ICE expeditiously removes Venezuelans with final orders of
    removal in ICE custody. 190 aliens were removed from the ERO El Paso field office to
    Venezuela on February 10, 2025.
12. I am familiar with the current process for affording access to counsel for immigration
    detainees at NSGB. Written notice of the right to contact counsel is to be posted and
    distributed to each alien at both Camp VI and the MOC. The notice, now available in
    English, is currently being translated into Spanish. ERO will continue to assess this
    mechanism as the scope of the mission develops.
13. Detainees may request a legal call with a legal representative by submitting a detainee
    request form. Detainees may use the time allotted to speak with a legal representative or try
    to find a legal representative. If a detainee does not have a legal representative, the detainee
    can call the ABA Information Line for a legal referral. ERO requested the ABA provide a
    toll-free number by which detainees may call the ABA Information Line from NSGB, which
    has Spanish language capability. The toll-free number is listed on the notice of the right to
    contact counsel which has been posted at both Camp VI and the MOC.
14. The legal representative of detainees may also file a Form G-28, Notice of Entry of
    Appearance, through the ERO eFile platform on ICE.gov that will notify ICE that a person is
    represented. Legal representatives can request legal calls with their clients by following
    instructions on ICE.gov.



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15. For immigration detainees housed at Camp VI, the facility has six telephone lines that are
   installed in separate rooms that offer privacy. Immigration detainees housed at Camp VI will
   be given the opportunity to request a private telephone call with no audio monitoring to their
   lawyers. No detainees in Camp VI have made a request to any DHS officers to speak with a
   lawyer.
16. For immigration detainees housed in MOC, the facility currently offers one private room for
   legal calls. Up to five immigration detainees per day will be permitted a 20-minute phone call
   to their lawyers. Immigration detainees housed at MOC will be given the opportunity to
   request a private telephone call with no audio monitoring to their lawyers. No detainees in
   the MOC have made a request to any DHS officers to speak with a lawyer.
17. I am familiar with the current process for affording access to legal mail for immigration
   detainees housed at NSGB. Legal mailwill be delivered to NSGB on a weekly basis via the
   Defense Courier Service. Similarly, legal mail originating from immigration detainees
   housed at NSGB will be transported to Washington, D.C. on a weekly basis via the Defense
   Courier Service. ERO is currently developing a process to ensure that all ICE detainees have
   access to pens and paper to send mail.


I declare, under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information, and belief, as of the time of signature.


Executed this  day of February, 2025.
                                              Digitally signed by JUAN E
                               JUAN E         AGUDELO
                                              Date: 2025.02.20 11:33:24
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                               Juan Agudelo
                               Acting Field Office Director
                               Enforcement and Removal Operations
                               U.S. Immigration and Customs Enforcement
                               U.S. Department of Homeland Security




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